 

VS.

UNITED STATES OF AMERICA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DANIEL HERSL
Criminal No. CCB-17-0106 Defendant’s Trial Exhibits
1
Exhibit No. Idcntification Admitted Description
1 1/25/2018 1/25/2018 Google Map (Western District Area)
2 1/25/2018 1/25/2018 Google Map (Eastern District Area)
3 1/25/2018 1/25/2018 Photo _ Belvedere Towers
4 1/25/2018 ID ONLY ludictment
5 1/29/2018 ID ONLY F§I 302 § §
6 1/30/2018 11) 0NLY ¢@F@§;
7 1/30/2013 ID ONLY A{f{davit of Warraqt §; ;/ 5
8 1/30/2018 1/30/2018 Photograph w 2723 Fairmoypt §ireet §
9 1/30/2018 1/30/2018 Photograph - 2721 Fairmo;§lflt §tr`eet :
10 1/30/2018 1/30/2018 Photograph - Hamilton Ho;se ch
1 1 1/30/2018 1/30/2018 Photograph - Hamilton House
12 `
13 1/30/2018 ID ONLY Rayam Plea Agreement
14 1/30/2018 1/30/2018 Photograph - Robb Street
15 1/30/2018 1/30/2018 Photograph ~ Robb Street
16 1/30/2018 1/30/2018 Photograph _ Robb Street
17 1/30/2018 ID ONLY FBI 302
18 1/30/2018 1/30/2018 Photograph M Money re: Tate Arrest
19 1/30/2018 ID ONLY Criminal Record for Dennis J. Armstrong
20 1/31/2018 1/31/2018 Photo - 2717 Fairmont Street

 

 

 

 

 

 

Exhibit List (Rcv. 3/1999)

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Exhibit No. ldentification Admitted Description -'

21a 1/31/2018 1/31/2018 Maryland Live! Casino - Annual Aetivity
for Calendar Year 2015 '

21b 1/31/2018 -1/31/2018 Maryland Live! Casino - Annual Activity
for Calendar Year 2016

22 1/31/2018 1/31/2018 Maryland Live! Casino _ Annual A¢tivity
for Calendar Year 2016 - (Jan. - Oct.
2016)

23 2/1/2018 2f1/2018 Photograph - Double D Bail Bonds

24 2/1/2018 2/1/2018 Photograph _ Aiken Street §

25 f

26 2/1/2018 I]) ONLY FBI 302 - Antonio Santiful

274`4¥»}( 2/1/2018 2/1/2018 Handgun W/ Bullets (found in Sister§’S car
- A. Santiful)

28 2/1/2018 2/1/2018 M&T Bank Staternent - Samara Irby

29*** 211/2013 2/1/2018 Red Bandana l

30**** 2f1/2018 2/1/2018 Digital Scales §

31**** 2/1/2018 2/1/2018 Heroin - 100 grams (Seized from Jimmie
Griff`m’S house)

32* * * * * 2/1/2018 2f1/2018 Firearm retrieved from Jimmie Griffm’s
house '

33 2/5/2018 ID ONLY FBI 302 dated 7/14/2016 ‘

34 2/5/2013 ID ONLY p//MMM *

35 '

36 2/6/2018 2/6/2018 Photograph _ Jimmie Griffln

37 2/6/2018 2/6/2018 Evidence Form dated 11/5/2014

38 _

39 2/6/2018 2/6/2018 Evidence Control Unit Property Sheet

* * **RETAINED BY AUSA

Exhibn Lisr (Rev. 3/1999)

 

